Joe P. Josephson, Esq.,

Josephson Law Oftices, LLC

912 W. 6th Ave., Anchorage, AK 995()1
Tel. (907) 276-0151/Fax (907) 276-0155
Attorney for Plaintiff-Appellant

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

 

ANNA NOWAK, )

)
Plaintift`, ) NOTICE OF APPEAL TO THE U. S.
) COURT OF APPEALS FOR THE NINTH
V. ) QR_QQH

)

GENWORTH lNSURANCE )

C()MPANY, ) District Court File No. 3:17-<:\/-0086 -HRH

)

NOTICE is hereby given that ANNA N()WAK, plaintiff in this action, by and

 

through her undersigned attorney_, Joe P. Josephson (Alaska Bar number 6102018), of
Josephson LaW Ot`tices, LLC, hereby gives NO'l`ICE Of her appeal from the final Order of
dismissal entered herein by the Honorable H. Russel Holland, United States District Judge,
on August 31, 2017. The said final Order was in favor of the defendant-appellee,
GENWORTH INSURANCE COMPANY, and against the plaintiff-appellant, ANNA
NOWAK. This appeal is taken to the United States Court of Appeals for the Ninth Circuit
and is filed in accordance With the Federal Rules of Appellate Procedure and Circuit Rule
3-1.

DATED at Anchorage, Alaska, this 29th day of Septernber, 2017.

 

Jo P.Jo phsoii,
Attorney tbr Plaintiff-Appellant

Case 3:17-cV-00086-HRH Document 23 Filed 09/29/17 Page 1 of 5

Joe P. Josephson, Esq.,

Josephson Law Offlces, LLC

912 W. 6“‘ Ave._, Anchorage, AK 99501
Tel. (907) 276-0151/Fax (907) 276-0155
Attorney for Plaintiff-Appellant

lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

 

ANNA NOWAK,
Plaintiff,
v.

GENWORTH INSURANCE

COMPANY, District Court File No. 3:17-cv-0086\ `-HRH

,\.,/V\_/\_/\._/\._/\.,/\_/

 

REPRESENTATlON STATEMENT

In accordance with Ninth Circuit Rule 3-2 and Rule 12(b), Federal Rules of
Appellate Procedure, undersigned counsel for plaintiff-appellant_, ANNA NOWAK,
identifies the parties to the action, and the names, addresses and telephone numbers of their
respective counsel_, as follows:

1. The plaintiff(and appellant) is ANNA NOWAK.

2. The attorney for the plaintiff-appellant is the undersigned, Joe P. Josephson, Esq.,
of Josephson Law ()ffices, LLC, 912 West Sixth Avenue, Anchorage, Alaska 99501
(telephone number 907-276-015 1 ).

3. The defendant (and appellee) is GENW()RTH INSURANCE COMPANY.

4. The attorneys for the defendant-appellee are Kevin Cuddy, Esq., and Sarah

Langberg, Esq., of Stoel Rives LLP, 510 L Street, Suite 50(), Anchorage, Alaska 99501

Case 3:17-cV-00086-HRH Document 23 Filed 09/29/17 Page 2 of 5

(telephone number 907-263-8410).

DATED September 28, 2017, at Anchorage, Alaska.

§ %QSZMA¢\“\
oe . sephso‘h', attorney for plaintiff-appellant

 

Nowak v. Genwor!h Ins. Co., Representation Statement, p. 2, USDC No. 3:16-cv-0086 HRH

Case 3:17-cV-00086-HRH Document 23 Filed 09/29/17 Page 3 of 5

Joe P. Josephson. Esq.,

.losephson Law Offlces_, LLC

912 W. 6"1 Ave., Anchorage, AK 99501
Tel. (907) 276-0151/Fax (907) 276-0155
Attorney for Plaintiff-Appellant

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

 

ANNA NOWAK,
Plaintiff,
V.

GENWORTH lNSURANCE

COMPANY, District Court File No. 3:17-cv-0086 -HRH

\_/\_JH_/\_/\_/\_/\_/H_/

 

STATEMENT OF FILING FEE DEPOSIT
The undersigned, Joe P. Josephson, attorney for plaintiff, hereby submits herewith
the deposit of the required $505.00 filing fee required for the plaintiffs appeal to the

Court of Appeals for the Ninth Circuit.

one P. iiosephson/ 311 /V0. 6103.0/8'

DATED September 29, 2017.

 

Case 3:17-cV-00086-HRH Document 23 Filed 09/29/17 Page 4 of 5

Joc P. Josephson, Esq.,

Josephson l_¢aw ()ffices, LLC

912 W. 6“‘ Ave., Anchorage, AK 99501
Tel. (907) 276-0151/Fax (907) 276-0155
Attorney for Plaintiff-Appellant

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

 

 

ANNA NOWAK, )
)
Plaintiff, )
)
v. )
)
GENWORTH lNSURANCE )
COMPANY, ) District Court File No. 3:17-cv-00865-HRH
)
CERTIFlCATE OF SERVICE

 

l, the undersigned, attorney for plaintiff ANNA NOWAK, hereby certify that on
the 29"' day of September, 2017, I caused to be delivered to the Stoel Rives LLP law
offices (ATTENTION: Kevin M. Cuddy, Esq.) at 510 L Street, Suite 500, a true and
correct copy of the Notice of Appeal_, a true and correct copy of the Representation
Statement, and a true and correct copy of the Statement of Filing Fee Deposit, Which
documents Were submitted to the Clerk of the above-captioned court on this 29th day of
September, 2017.

J P. Jose son
Alaska Bar no. 6102018

Case 3:17-cV-00086-HRH Document 23 Filed 09/29/17 Page 5 of 5

